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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

                                                  MDL No. 2804

IN RE: NATIONAL PRESCRIPTION                      Case No. 1:17-md-02804-DAP
OPIATE LITIGATION
                                                  Judge Dan Aaron Polster


  ORDER MODIFYING THE SECOND AMENDED CASE MANAGEMENT ORDER
           FOR THIRD PARTY PAYOR BELLWETHER CASES

       AND NOW, this 13th day of December, 2024, upon consideration of the Parties’ Joint

Motion to Modify the Second Amended Case Management Order for Third Party Bellwether

Cases, the Second Amended Case Management Order for Third Party Bellwether Cases, Oct. 2,

2024, ECF No. 5666, and Case Management Order One, Apr. 11, 2018, ECF No. 232, it is

hereby ORDERED that the Parties’ Joint Motion is GRANTED and the Court’s Second

Amended Case Management Order is hereby MODIFIED as follows:

 Event                                                     Original Date       Revised Date
 Deadline for Agreement on Custodians and Search           Dec. 16, 2024       Jan. 17, 2025
 Terms
 Motions to Dismiss on Substantive Issues                  Jan. 24, 2025       Feb. 25, 2025
 Commencement of Custodial Document Production             Jan. 31, 2025       Mar. 14, 2025
 Answers Due if no Motions to Dismiss are Filed            Feb. 24, 2025       Mar. 26, 2025
 Response to Motions to Dismiss on Substantive Issues      Mar. 25, 2025       Apr. 26, 2025
 Replies in Support of Motions to Dismiss on Substantive   Apr. 15, 2025       May 17, 2025
 Issues

       All other deadlines set by the Second Amended Case Management Order remain

unaffected.

                                                BY THE COURT:

 Dated: 12/13/2024                              _s/Dan Aaron Polster____
                                                DAN AARON POLSTER
                                                United States District Judge
